
51 N.Y.2d 890 (1980)
In the Matter of Trinity Place Company, Appellant,
v.
Finance Administrator of the City of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued October 9, 1980.
Decided November 11, 1980.
John L. Diamond and Harry H. Chambers for appellant.
Allen G. Schwartz, Corporation Counsel (Stanley Buchsbaum and Edith I. Spivack of counsel), for respondents.
Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER concur.
*891MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs.
The issues in this case are factual. The determinations made at the Appellate Division conform to the weight of the evidence, and we perceive no error of law.
Order affirmed, with costs, in a memorandum.
